  Case 1:21-cv-00282-MAC Document 9 Filed 07/29/21 Page 1 of 2 PageID #: 36




                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION


 THERESSA LEVINE,

        Plaintiff,

 v.                                                  Case No. 1:21-cv-00282-MAC

 CLIENT SERVICES, INC.,

       Defendant.


                     STIPULATION OF DISMISSAL WITHOUT PREJUDICE

       NOW COME THE PARTIES, Plaintiff Theressa Levine (“Plaintiff”) and Defendant Client

Services, Inc. (“Defendant”), by and through their undersigned counsel (collectively “the Parties”).

       1.      This case involves individual and putative class action claims for violations of the

Fair Debt Collection Practices Act (15 U.S.C. § 1692).

       2.      Defendant has answered Plaintiff’s Complaint. Dkts. 1 and 6. No counter-claim has

been filed.

       3.      Federal Rule of Civil Procedure 41(a)(1)(B)(2) provides that “[e]xcept as provided

in Rule 41(a)(1), an action may be dismissed at the plaintiff's request only by court order, on terms

that the court considers proper.”

       4.      The Parties are in agreement that each side shall bear their own costs.

       WHEREFORE, the Parties respectfully propose that this action be dismissed without

prejudice where each side shall bear their own costs

 DATED: July 29, 2021                                     Respectfully submitted,

 /s/ James C. Vlahakis                                    /s/ Patrick A. Watts (with consent)
 James C. Vlahakis, Esq.                                  Patrick A. Watts, #6302112


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  Case 1:21-cv-00282-MAC Document 9 Filed 07/29/21 Page 2 of 2 PageID #: 37




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 COUNSEL FOR PLAINTIFF




                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

record.


                                                      /s/ James C. Vlahakis
                                                      James C. Vlahakis




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